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                  UNITED STATES DISTRICT COURT
                     DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA §
                          §
     v.                   § NO. 19-cr-246 (MCA)
                          §
 CREAGHAN HARRY,          §
                          §
 Defendant.               §
                          §


                           [PROPOSED ORDER]

       Now, this _____ day of ___________, upon consideration of the

 government’s Motion to Seal and to File Ex Parte of the Prosecution

 Team (“Motion to Seal”), it appearing that the United States Filter

 Team’s Motion for an Order Determining that Certain Documents

 Produced to Defendant in Case Number 20-cr-773 Under Federal

 Rule of Evidence 502(d) Are Not Privileged relies upon and references

 documents disclosed to Defendant Adarsh Gupta pursuant to this

 Court’s Order in Case No. 20-cr-773, ECF No. 113, and for good

 cause shown,

       IT IS HEREBY ORDERED THAT the Motion to Seal is

 GRANTED.
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       IT IS FURTHER ORDERED THAT the government’s Motion for

 an Order Determining that Certain Documents Produced to

 Defendant in Case Number 20-cr-773 Under Federal Rule of

 Evidence 502(d) Are Not Privileged and accompanying exhibits,

 copies of the documents at issue, and Proposed Order be sealed.


                                    _______________________________
                                    HON. MADELINE COX ARLEO
                                    UNITED STATES DISTRICT JUDGE




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